y Case 3:10-cv-02436-JSW Document 1-1 Filed 06/02/ “OR

& JS 44 (Rev. 12/07) (CAND Rev 1/10) Ww CIVIL COVER SHEET R | G| N A L

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rule*of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON PAGE TWO OF THE FORM.)

1 (a) PLAINTIFFS DEFENDANTS
WOLF, DANIEL, individually and on behalf of all others similarly situated SONY COMPUTER ENTERTAINMENT AMERICA INC., SQUARE
ENIX OF AMERICA HOLDINGS, INC., and SQUARE ENIX, INC.
(b) County of Residence of First Listed Plaintiff San Diego County of Residence of First Listed Defendant San Mateo
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.
(c) Attorney's (Firm Name, Address, and Telephone Number) Attorneys (If Known) D M R
see attachment wee
E-filing
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
PTF DEF PTF DEF
[2]! US. Government [CJ 3 Federal Question Citizen of This State EJ 1 (7) 1 Incorporated or Principal Place = [7] 4 G4
Plaintiff (U.S. Government Not a Party) of Business In This State
CI 2 US. Government [Xx] 4 Diversity Citizen of Another State [—] 2 [TJ 2 Incorporated and Principal Place CJ s CI 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subjectofa [7] 3 [7J]3 Foreign Nation Ce CJ] «
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
CC) 0 Insurance PERSONAL INJURY PERSONAL INJURY _[C-J610 Agriculture [422 Appeal 28 USC 158 [C1400 State Reapportionment
([) 120 Marine [310 Airplane {362 Personal Injury— (620 Other Food & Drug {__]423 Withdrawal [1410 Antitrust
(7) 130 Miller Act [B15 Airplane Product Med. Malpractice  ([]625 Drug Related Seizure 28 USC 157 [7] 430 Banks and Banking
(] 140 Negotiable Instrument Liability [1365 Personal Injury -—~ of Property 21 USC 881 450 Commerce
[[) 150 Recovery of Overpayment [20 Assauk, Libel & Product Liability {1630 Liquor Laws PROPERTY RIGHTS 460 Deportation
& Enforcement of Judgment Slander {368 Asbestos Personal [J640R.R. & Truck 820C 7 470 Rack Influenced and
([) 151 Medicare Act [7330 Federal Employers’ Injury Product (1650 Airline Regs. i popyriehts Corrupt Organizations
([] 152 Recovery of Defaulted Liabili Liabili {—]660 Occupational cc atent [—} 480 Consumer Credit
ty ry 840 Trademark
Student Loans [340 Marine PERSONAL PROPERTY Safety/Health I racemal [490 Cable/Sat TV
(Excl Veterans) [P45 Marine Product I77]370 Other Fraud (]690 Other [810 Selective Service
CC) 153 Recovery of Overpayment Liability t Truth in Lending LABOR SOCIAL SECURITY 850 Securities/Commodities/
of Veteran's Benefits [850 Motor Vehicle 38 Other Personal Exchang
(J 160 Stockholders’ Suits [—}55 Motor Vehicle roperty Damage [1710 Fair Labor Standards = [7861 HIA (1395ff) [7] 875 Customer Challenge
(} 190 Other Contract Product Liabilit [57385 roperty Damage Act [862 Black Lung (923) 12 USC 3410
Co 195 Contract Product Liability [7360 Other Personal [jury Product Liability [77] 720 Labor/Mgmt. Relations [[7]863 DIWC/DIWW (405(g)) E1890 Other Statutory Actions
[7_ 196 Franchise . 730 Labor/Mgmt.Reporting [£7]864 SSID Title XVI C89! Agricul at
PRISONER & Disclosure Act [_]865 RSI (405(g)) [892 Economic Stabilization Act -
REAL PROPERTY CIVIL RIGHTS \ PETITIONS 740 Railway Labor Act [893 Environmental Matters
(C) 210 Land Condemnation 441 Voting [7] 510 Motions to Vacate [1790 Other Labor Litigation [1894 Energy Allocation Act
CO 220 Foreclosure 442 Employment Sentence [791 Empl. Ret. Inc. 895 Freedom of Information
. . Security Act FEDERAL TAX SUITS Act
CC] 230 Rent Lease & Ejectment 443 Housing/ Habeas Corpus: ecUurity — 900Appeal of F
240 Torts to Land Accommodations [530 General [1870 Taxes (U.S. Plaintiff 4 Borer ° tie
245 Tort Product Liability 444 Welfare [_] 535 Death Penalty or Defendant) Un fier Eau MA
(] 290 All Other Real Property 445 Amer. w/Disabilities - 77] 540 Mandamus & Other IMMIGRATION 871 IRS—Third Party i er Equa Coes
Employment 1350 Civil Rights [7462 Naturalization Applicata | 76 USC 760° [1950 Consttutionality of
446 Amer. w/Disabilities [J] 555 Prison Condition [J 463 Habeas Corpus - State Statutes
one ivil Righ Alien Detainee
440 Other Civil Rights [~}465 Other Immigration
Actions
V. ORIGIN = (Puce an“X” in One Box Only) Transferred from Appeal to District
(21 Original [7] 2 Removed from (3 Remanded from (14 Reinstated or [1] 5 another district (16 Multidistrict (717 Judge from
Proceeding State Court Appellate Court Reopened (specify) Litigation Magistrate
Judgment

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 U.S.C. § 1332(d)

Brief description of cause:

VI. CAUSE OF ACTION

ABE

Q CA Business and Professions Code § 17200; CA Civil Code § 1750; warranty; strict liability; negligence
: VII. REQUESTED IN [=] CHECK IF THIS ISA CLASS ACTION DEMAND S$ CHECK YES only if demanded in complaint:
: Vy COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: [2] Yes——] No
VIN, RELATED CASE(S) PLEASE REFER TO CIVIL L,B..3-12 CONCERNING REQUIREMENT TO FILE
IF ANY "NOTICE OF RELATED GAGE"
IX. DIVISIONAL ASSIGNMENT (CIVIL L.R. 3-2)
(PLACE AND "X"' IN ONE BOX ONLY) \( she FRANCISCO/OAKLAND __[_] san Jose C__JEurEKA

DATE SIGNA F AYPORNEY OF RECOR
June 2, 2010

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Attachment to Civil Cover Sheet

I. (c) Plaintiff's Attorney’s (Firm Name, Address, and Telephone Number)
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